 Case 5:06-cr-00098       Document 329        Filed 01/20/12     Page 1 of 2 PageID #: 1229




                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                     BECKLEY DIVISION


UNITED STATES OF AMERICA,

                              Plaintiff,

v.                                                  CRIMINAL ACTION NO. 5:06-cr-00098-02

DOROTHY ANN OILER,

                              Defendant.


                 MEMORANDUM OPINION AND JUDGMENT ORDER


       Pending before the Court is a motion, brought pursuant to 18 U.S.C. § 3582(c)(2), to reduce

Defendant’s sentence based on a subsequent reduction in the applicable sentencing guideline. On

November 1, 2010, pursuant to the Fair Sentencing Act of 2010, the United States Sentencing

Guidelines were amended resulting in reductions in the guidelines in Section 2D1.1 for cocaine

base. These temporary, emergency amendments to the Guidelines took effect on November 1, 2010.

Permanent amendments implementing the Act were promulgated on April 6, 2011, with an effective

date of November 1, 2011. Subsequently, the Sentencing Commission voted to give retroactive

effect to the permanent amendments. Pursuant to a Standing Order entered on October 7, 2011, this

case was designated for Expedited consideration.

       The Court has received and considered the original Presentence Investigation Report (PSI),

original Judgment and Commitment Order and Statement of Reasons, and addendum to the PSI from

the Probation Office, and received any materials submitted by the parties on this issue. The Court
 Case 5:06-cr-00098          Document 329         Filed 01/20/12      Page 2 of 2 PageID #: 1230




has also considered the applicable factors under 18 U.S.C. § 3553(a), consistent with § 3582(c)(2),

and public safety.

          By its written and filed response, the United States does not object to the reduction ordered

herein.

          Based on the foregoing considerations, the Motion [Docket 293] is GRANTED. The Court

ORDERS that Defendant’s base offense level be reduced by 2 levels, resulting in a new total

offense level of 31. It is further ORDERED that Defendant’s previous sentence be reduced to a

period of 108 months, with credit for time served to date. This Order is subject to the prohibition

contained within U.S.S.G. §1B1.10(b)(2)(C). Further, Defendant’s motions to appoint counsel

[Dockets 294 and 295] are DENIED AS MOOT.

          IT IS SO ORDERED.

          The Court DIRECTS the Clerk to send a copy of this Order to the Defendant and counsel,

the United States Attorney, the United States Probation Office, and the United States Marshal.

                                                ENTER:          January 20, 2012




                                                   -2-
